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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                       BEAUMONT DIVISION

JAKE ELLIS DAUGHTRY,             §
SANDRA MILLER DAUGHTRY,          §
INDIVIDUALLY, AND                §
D/B/A JAKE’S FIREWORKS,          §
JOSEPH ELLIS DAUGHTRY,           §
RIGHT PRICE CHEMICALS, LLC,      §
BEST BUY INDUSTRIAL SUPPLY, LLC, §
LAB CHEMICAL SUPPLY, LLC, AND §
DAUGHTRY INVESTMENTS, LLC        §
                                 §
                                 § CIVIL ACTION NO.
                                 § ___________
V.                               §
                                 §
SILVER FERN CHEMICAL, INC.,      §
SAM KING, TIMOTHY LYONS,         §
AND GILDA FRANCO                 §


                PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

      COME NOW Plaintiffs Jake Daughtry, Sandra Daughtry, Individually,

and D/B/A Jake’s Fireworks, Joe Daughtry (“Daughtry Family” or

Plaintiffs), Right Price Chemicals, LLC (“RPC”), Best Buy Industrial Supply,

LLC (“BBIS”), Lab Chemical Supply, LLC, and Daughtry Investments, in the

above noted and styled Plaintiffs’ Original Complaint alleging that Silver

Fern Chemical, Inc (“Silver Fern”) is liable for the causes of action set forth.

Plaintiffs reserve the right to replead if new claims and issues arise upon


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further development of the facts, as permitted by law. In support thereof

Plaintiffs would respectfully show the following:

                         JURISDICTION AND VENUE

  1.    Jurisdiction is conferred upon this Court Pursuant to 28 U.S.C.A.

        §1332 because the matters in controversy arise under the

        Constitution and laws of the United States. Furthermore, this Court

        has supplemental jurisdiction over various state and common law

        claims pursuant to 28 U.S.C. §1367.

  2.    Pursuant to 28 U.S.C. §1391 this Court is the proper Venue over this

        cause, as all events and omissions giving rise to Plaintiffs claims

        occurred and may be consolidated in the Eastern District of Texas,

        Beaumont Division as they all reflect common issues of law and

        fact.

                               STANDING

  3.    Plaintiffs have standing to bring this lawsuit because they have

        suffered injury, caused by Defendants’ wrongful conduct.         The

        injuries suffered by Plaintiffs as a result of Defendants’ actions may

        be redressed by this Court.

                                   PARTIES

  4.    Plaintiffs live in Jefferson County, Texas.


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5.    Sam King is an individual that may be served at his home at: 396

      Hot Springs Rd., Santa Barbara California 93108.

6.    Gilda Franco is an individual that may be served at her workplace

      at: 22626 Queen Anne Ave. N., Seattle Washington 98109.

7.    Silver Fern Chemical, Inc. is a domestic corporation and may be

      served through its registered agents: Lisa King and Scott Lyons at

      2226 Queen Anne Ave. N., Seattle, Washington 98108.

8.    Timothy Lyons is an individual that may be served at the Silver Fern

      Chemical business location at: 22626 Queen Anne Ave. N., Seattle

      Washington 98109.

9.    Although not a party, this pleading challenges the constitutionality

      of a federal or state statute, requiring service of notice of the

      constitutional question and a copy of the pleading on the U.S.

      Attorney General at: U.S. Department of Justice, 950 Pennsylvania

      Avenue, NW Washington, DC 20530.

                        FACTUAL BACKGROUND

       SILVER FERN’S INVOLVEMENT IN FALSE CRIMINAL
                       ALLEGATIONS
1.    Prior to the raid on July 15, 2020, Silver Fern Chemical

      was the only chemical supplier identified by the

      Government that supplied 1,4 Butanediol to RPC in


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        Jefferson County, Texas which Silver Fern sold over the

        internet.




[Exhibit 1 - 1:20-CR-00055 Dkt 272 at p.20 of 117, L 15-23].

  2.    On June 3, 2020 a Federal Grand Jury indictment was returned

        against the Defendants alleging violations of 21 U.S.C. 846 and 841,

        21 U.S.C. 802(32)(A), 813, and 841(a)(1) and (b)(1)(c), and 18 U.S.C.

        856(a)(1), 21 U.S.C. 841(g), 21 U.S.C. 841(g)(1)(B) and (g)(2)(A)(i),

        21 U.S.C. 856(a)(1), 21 U.S.C. 1957; the indictment additionally

        sought forfeiture of certain real and personal property in the form

        of a money judgement pursuant to 21 U.S.C. 853 and 881.

  3.    The indictment alleges a conspiracy to possess with intent to

        distribute a controlled substance analogue and a conspiracy to


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             distribute a date rape drug over the internet to an “unauthorized

             purchaser.” The chemical in question is called 1,4 Butanediol and is

             an industrial solvent that has numerous innocuous uses.1

    4.       At the heart of the Government’s allegations is the question of

             whether the sales of 1,4 Butanediol were intended for human

             consumption, as required by the statute. In its filings and arguments

             in various court hearings the Government has alleged that RPC and

             the Daughtrys were not employing voluntary industry practices to

             ensure sales were not diverted from “legitimate channels”.

    5.       The Daughtry Family is actually innocent of the allegations, but

             before they could prove their innocence, Jake Daughtry, with the

             help of a forensic computer expert, was able to prove that Silver

             Fern Chemicals, Inc. had submitted fabricated documents to the

             Government that misrepresented the information that RPC had

             received          from         Silver        Fern        Chemicals,            Inc.,       including

             representations that RPC had received an SDS (Safety Data Sheet)

             from Silver Fern Chemicals, Inc. when it in-fact had not. Exhibit 3 -



1
 Cargill recently issued a press release that it was to build the first commercial-scale, renewable BDO facility in the
U.S to satisfy consumer demand for sustainable products. Cargill manufactures butanediol for consumer products.
https://www.cargill.com/2021/cargill-and-helm-partner-to-build-$300m-facility – Exhibit 2.



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      Expert Report of Cyopsis Digital Forensics, eDiscovery &

      Investigations, August 29, 2021.




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6.    RPC used Lexiconn Internet Services, Inc. to host its email domain.

      Jake Daughtry would blind copy his work email with personal

      emails. In reviewing discovery, Daughtry discovered that the emails

      between Silver Fern and himself did not match the originals from

      the server nor the blind copies to Jake Daughtry’s personal email.



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7.    A number of emails between Silver Fern and Jake Daughtry did not

      match the originals from the server nor the blind copies to the

      personal email. The primary difference in the emails was the

      addition of an attached SDS sheet along with added text in the body

      of the email instructing the receiver to refer to the newly attached

      SDS sheet which was never provided to RPC by Silver Fern. The

      fabricated SDS was not part of the original bill of lading. Exhibit 4.

8.    Below, is the actual SDS information likely provided to RPC:




9.    Meanwhile, RPC learned that a fabricated SDS had been presented

      to the government by Silver Fern and that Silver Fern had actually

      gone back to old email correspondence between Silver Fern and

      RPC and modified the emails to make the emails look like they had

      included the fabricated SDS as an attachment. The fabricated SDS



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      contained information that is inaccurate and, importantly, this

      information was never sent to RPC before the allegations that lead

      to the attempt to prosecute the Daughtry family. A comparison of

      the two documents is essential to understanding the nature of

      fraudulent activity by Silver Fern. Here is the same section of the

      fabricated SDS.




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  10.   Silver Fern had created a presentation to the Government it was

        supplying RPC with information that it had not been providing RPC.

        The documents’ materiality stems from the fact that it purports to

        tie 1,4 Butanediol to the date rape drug GHB and warn distributors

        that unauthorized purchasers were using the chemical for personal

        consumption. The information on the fabricated SDS was never




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        provided to RPC or the Daughtry family before their property was

        raided and seized.

  11.   Despite conducting a three-year investigation into the Daughtrys

        alleged “illegal drug distribution”, the Government waited forty-two

        days to obtain and execute arrest and search warrants in the wake

        of the indictment.

  12.   On July 15, 2020, just after the July 4th firework season, multiple

        agencies including the Drug Enforcement Agency conducted a raid

        on multiple properties including the fireworks warehouse and the

        Plaintiffs’ personal residences. They seized cash, bank accounts, cell

        phones, vehicles, computers, real estate, and buildings including all

        of its contents. They seized all of the family business documents that

        were essential to the continued operations of the businesses.

  13.   The chemical 1,4 Butanediol is not a controlled substance. It is not

        a listed chemical. 1,4 Butanediol is not a prescribable substance nor

        does it require a registration to dispense, sell, or possess. The

        chemical 1,4 Butanediol is not part of the closed system of DEA

        Registration subject to Diversion Control.




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  14.   A prerequisite for any substance to become a “controlled substance

        analogue” is that the substance be intended for human

        consumption. Therefore, the distribution of 1,4 Butanediol is legal

        if the distribution is not intended for human consumption. The 1,4

        Butanediol distributed by RPC was not intended for human

        consumption.

  15.   1,4 Butanediol is known to commonly be utilized as a floor stripper

        and a wheel-well cleaner for automobiles. It can also be utilized in

        commercial/industrial settings, in the process of laboratory

        research operations, and as an electronics cleaner among uses in

        numerous other consumer products such as spandex products

        manufactured by Lululemon.

  16.   At the time of the detention hearing for Jake Daughtry, Walmart,

        Amazon and E-bay all had 1,4 Butanediol for sale on their own

        websites in similar quantities for similar or higher prices. Exhibits

        5-7.

  17.   On July 13, 2020, the Government proceeded with attempts at

        separate civil forfeiture efforts before The Honorable Judge Michael

        Truncale. An Emergency Ex Parte Motion was also filed requesting

        a temporary restraining order under 28 U.S.C. 856(e). [1:20-CV-

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        305] The Court Granted the Government’s request based at least in

        part on misleading and false information provided by Silver Fern

        Chemicals (“SFC”).

  18.   Additionally, the Government sought to show that RPC should have

        behaved like Silver Fern, by providing this information to the

        purchasers of the product. The Government sought to contrast the

        “good behavior” of Silver Fern with the alleged failure of RPC to

        include the SDS it had been provided by Silver Fern. RPC was,

        therefore, held to an impossible standard by the Government as

        RPC was expected to have sent information it never actually

        received from Silver Fern. The Silver Fern SDS was modified by SFC

        employees and never sent to RPC making it impossible for RPC to

        meet a fictitious, “voluntary industry standard” the Government

        sought to impose.

  19.   On November 7, 2019, without Plaintiffs’ knowledge, the

        Government began requesting information from Silver Fern

        Chemical, Inc., and a cooperative relationship was formed between

        the Government and Silver Fern. It is during this relationship that

        the fraud was committed, and fabricated evidence was developed to




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        create a false history of “vetting procedures” that did not exist in

        reality.

  20.   On December 4, 2019, less than 30-days after the Government’s

        initial subpoena for information, a Silver Fern employee sent an

        email to RPC stating: “It has come to our attention that although

        1,4-Butanediol (“1,4-BDO”) is not a controlled substance listed

        by the DEA, it can be diverted for illicit use.” and “We can ship this

        out ASAP, but before we ship this to you, we need to have you fill

        out another regulatory form from the DEA.” (emphasis added)

  21.   On September 2, 2020, a hearing was held before Judge Truncale

        wherein the Government called a private contractor and former

        DEA Agent named Jerry Salameh to the stand. Mr. Salameh

        “authenticated” a number of exhibits during his testimony. Through

        AUSA Wells, the Government admitted and relied on a fabricated

        SDS sheet from SFC which resulted in an injunction that prevented

        the Daughtrys from opening their lawful businesses [1:20-CV-305

        at Dkt. 38-4]. Plaintiffs suffered egregious harm by eliminating their

        sources of income and severely limiting their ability to finance their

        defenses.




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  22.   Around March of 2021, the Government provided fabricated emails

        from SFC to Jake Daughtry in discovery for the criminal case. These

        emails were produced in PDF format only, resulting in all meta data

        being stripped from these fabricated SFC emails.

  23.   Through his defense counsel, Jake Daughtry, sent his own subpoena

        to Silver Fern to obtain electronic versions of the documents for

        further analysis.

  24.   Silver Fern and the Government coordinated their efforts to omit

        information from the subpoena response to Daughtry, importantly,

        Silver Fern omitted any internal Silver Fern SDS sheet(s) in any

        response to the government’s first four subpoenas.

  25.   Silver Fern further omitted at least three folders of purported

        “order” information in any of their responses to the government’s

        first four subpoenas.

  26.   The Silver Fern response to the Daughtry subpoena does not match

        the Silver Fern documents produced by the government to Daughtry

        in criminal discovery.




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  27.   Silver Fern had omitted from its response all email correspondence

        from the government regarding RPC as well as all email

        correspondence between Silver Fern and RPC.

  28.   In August of 2021, RPC worked with an expert to determine that the

        emails were altered, and they had been used in the prosecution of

        the Plaintiffs. The emails provided not just one example but more

        than a dozen.

  29.   The Government attorney that used the emails in the criminal

        prosecution was removed from the case. In hindsight, it appears

        clear that Silver Fern Chemical, their outside counsel Mr. Friedman,

        Government agents or a combination of these actors have conspired

        to obstruct justice and commit fraud on the Plaintiffs, multiple

        courts in the Eastern District of Texas, and the justice system as a

        whole.

  30.   The Government then allowed the known fabricator, Silver Fern, to

        conduct its own internal investigation to determine how or why it

        passed fabricated emails to the Government in response to a

        subpoena. In Silver Fern’s response to the Government’s request,

        Silver Fern apologized and then provided one example of a “real”

        email sent to Plaintiff that provided the needed evidence that 1,4

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        Butanediol was similar to gamma hydroxybutyric acid (GHB). The

        Government then asserted to Plaintiffs that it was satisfied with

        Silver Fern’s investigation and that the Government had concluded

        any investigation of its own. A computer expert was able to verify

        that this single email was also fabricated.

  31.   In January 2022, the Government issued a memo to Jake Daughtry

        from Silver Fern’s paralegal which is dated December 9, 2021.

        Exhibits 8-8B. In the memo, a December 8, 2021 Silver Fern

        TEAMS meeting is referenced that purports to contain the details

        related to how the emails were fabricated by a Silver Fern employee,

        Gilda Franco, and then tendered to the Government for use in the




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        prosecution               of              the              Plaintiffs.




  32.   In the memo, it was identified that the emails to RPC were altered

        in 2021 after Mr. Friedman, Silver Fern’s attorney became involved

        and after Tim Lyons contacted Gilda Franco in February 2021 to

        “find any additional email if it existed regarding the SDSs.”

  33.   In the memo, there is reference to confusion related to

        implementation of when SDSs would be sent at Silver Fern and

        there was indication that Silver Fern CSRs had access to RPC

        emails.

  34.   The Government was relying on Silver Fern communications in an

        attempt to establish concepts such as the appropriate “industry


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        standard” and protocol for “due diligence” when in fact Silver Fern

        had fabricated these communications and actually omitted this

        information from communications to RPC.

  35.   The Government filled the void caused by the Attorney General’s

        failure to promulgate any regulations for record-keeping and

        reporting by persons handling 1,4 Butanediol, by looking to Silver

        Fern’s fabricated documents. See 21 U.S.C. § 841(g)(3).

  36.   DEA Contract Investigator Jerry Salameh testified on September 2,

        2020, that in order for RPC to comply with federal law, it would

        have needed to “maintain the same protocols…Silver Fern Chemical

        put on Right Price Chemicals as certifying Right Price Chemicals

        was an authorized buyer and meeting all the parameters of the

        vetting procedure.”

  37.   Silver Fern then fabricated information and sent it to the

        Government about what such a procedure looked like by providing

        fabricated emails in an attempt to show a “history” indicating Silver

        Fern was behaving according to a fictitious standard.

  38.   This fictitious standard created by Silver Fern resulted in Plaintiffs

        being criminally charged under a vague regulatory framework



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        created under “suspension of the rules” as opposed to the proper

        legislative procedure which requires notice and hearing for debate.

  39.   Plaintiffs suffered additional harm when the Government used the

        fraudulent documentation and emails from SFC along with the

        fictitious standard SFC fabricated to seize and destroy hundreds of

        thousands of dollars of hand-sanitizer and chemical inventory from

        RPC completely unrelated to 1,4 Butanediol.

  40.   The fraudulent conduct by SFC including the fabricated emails and

        SDS along with the fictitious voluntary “industry standard” and

        “due diligence” practices created the basis for the Governments’

        attempts at civil and criminal prosecution.

  41.   In its first response to the Government subpoenas sent to Silver

        Fern, no end user forms were provided. This is likely because Silver

        Fern had interpreted the statute as not requiring those forms. By

        going back in time to manipulate emails allegedly sent before the

        regulations changed and caused confusion related to the standard

        of care for end user forms. Silver Fern put pressure on their

        employees to make sure that the standard created in 2019 was

        documented as having been implemented by Silver Fern in response

        to the documents that were to be provided to the Government in its

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        investigation of RPC. Silver Fern, therefore, created a fraudulent

        standard through its manipulation and fabrication of information

        to cover its tracks. This information was then used in the criminal

        prosecution of RPC.

  42.   One of Silver Fern’s final acts of fraud occurred on or about June 29,

        2020 when Silver Fern made a decision to stop selling 1,4

        butanediol and notified other Silver Fern customers but

        intentionally did not notify RPC. If Silver Fern had alerted RPC

        it was discontinuing supply and any reason why the parties dealings

        together related to 1,4 butanediol should change in away from its

        prior course, RPC would have acted. Instead, this critical omission

        constitutes actionable fraud that harmed all Plaintiffs as alleged in

        this Complaint. Exhibit 9.




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                  DECLARATORY RELIEF REQUESTED

  43.   Pursuant to 28 U.S.C. §2201 and FRCP 57, there exists a controversy

        of a justiciable nature related to the construction of 21 USC § 813,

        the defined term “distribution” and the requisite intent needed to

        establish the elements of the crime alleged against the Plaintiffs

        which arose from and was supported by the Silver Fern

        communications which the Government claimed established a

        standard of care in relation to compliance.

                    REGULATORY FRAMEWORK

  44.   The Drug Enforcement Administration (DEA) is involved in

        regulatory activity and enforcement of the diversion of certain listed

        chemicals and scheduled substances. See Review of the Drug

        Enforcement Administration’s Regulatory and Enforcement Efforts

        to Control the Diversion of Opioids, Evaluation and Inspections

        Division 19-05, September 2019 (Revised) Exhibit 10.

  45.   DEA’s Office of Diversion Control is responsible for ensuring that

        all controlled substance transactions take place within the closed

        system of distribution established by Congress.

  46.   When controlled substance transactions fall outside the closed

        system of distribution, the activity constitutes diversion.



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  47.   DEA Diversion Investigators enforce the CSA, the Chemical

        Diversion and Trafficking Act of 1987, and DEA regulations to

        ensure compliance by all current and prospective registrants.

  48.   Directly from the OIG report at p. 8:




  49.   The definitions provided in 21 USC 802 are critical to

        understanding the enforcement structure. For example, at

        802(32)(A) the term “controlled substance analogue” is defined

        through a list of three characteristics set forth in (i)-(iii).

  50.   At 21 USC 802(C), the definition is further modified to state at (iv)

        that any substance to the extent not intended for human

        consumption is not a controlled substance analogue.

  51.   Plaintiffs seek a determination that 21 USC § 813 and 21 USC §

        841(g) are void for vagueness and the enforcement is a violation of

        the nondelegation doctrine.

  52.   21 USC § 813 was revised in 2018. The revision added a list of factors

        as an attempt to establish some guidance for “determining whether


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        a controlled substance analogue was intended for human

        consumption.”

  53.   21 USC §813 provides for treatment of controlled substance

        analogues, to the extent intended for human consumption, be

        treated as a controlled substance.

  54.   As it pertains to RPC, 21 USC § 813 requires the Government to

        show 1,4–butanediol is intended for human consumption not just

        "use for human consumption" if they want it to be treated like a

        controlled substance which imposes strict liability simply for

        unauthorized possession and distribution. Before amendments

        made to 21 USC 813 in 2018 (2018-Pub.L. 115-271 designated

        provisions as subsec.(a), inserted heading, and added subsecs. (b)

        and (c)), it was enough to simply have a disclaimer label on the

        bottle that stated the product sold was not intended for human

        consumption.

  55.   The term "distribute" under the act is a defined term that means

        "(11) The term “distribute” means to deliver (other than by

        administering or dispensing) a controlled substance or a listed

        chemical.




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  56.   There is no distribution without it being treated as a controlled

        substance or a listed chemical. You can only treat 1,4–butanediol as

        a controlled substance if it is intended to be used for human

        consumption.

  57.   The definition of the word "distribute" is also crucial to how intent

        must be proven even under 841(g).

  58.   Further, though, Congress made clear in 841(g)(3) that in order for

        enforcement to be possible, specifically for 1,4 Butanediol, a set of

        rules for record keeping would first need to be promulgated by the

        U.S. Attorney General. This has never been done.

  59.   The language chosen by Congress must be given meaning and it is a

        condition precedent to enforcement that the Attorney General

        promulgate regulations for record-keeping and reporting by

        persons handling 1,4 butanediol in order to enforce 21 USC 841(g).

  60.   To replace the Attorney General’s failure to promulgate rules, the

        DEA sought to use Silver Fern to establish a set of rules in an

        unlawful delegation of its power to the DEA.

  61.   Congress did not authorize the DEA to promulgate rules and

        regulations related to the 1,4 Butanediol and it certainly did not

        authorize Silver Fern to do so.



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                  COUNT ONE: COMMON LAW FRAUD

  62.   The elements of common law fraud are (1) “a material

        misrepresentation” that (2) “was false,” (3) “was either known to be

        false when made or was asserted without knowledge of its truth,”

        (4) “was intended to be acted upon,” (5) “was relied upon,” and (6)

        “caused injury.” Zorrilla v. Aypco Constr. II, LLC, 469 S.W.3d 143,

        153 (Tex. 2015) (quoting Formosa Plastics Corp. USA v. Presidio

        Eng’rs & Contractors, Inc., 960 S.W.2d 41, 47 (Tex. 1998)).

  63.   Under Texas law, a fraudulent representation underlying a common

        law fraud claim may be based on the defendant’s misrepresentation

        to another if either: (1) The defendant intended for the

        misrepresentation to be repeated to and deceive the plaintiff. (2)

        The defendant knew the misrepresentation was especially likely to

        reach and influence       plaintiff’s   conduct.   Ernst   & Young,

        L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d 573, 578-80 (Tex. 2001).

  64.   A defendant who acts with knowledge that a result will follow is

        considered to intend the result. See generally Formosa Plastics

        Corp. v. Presidio Eng'rs Contractors, Inc., 960 S.W.2d 41, 48-

        49 (holding that evidence the defendant knew the plaintiff would

        rely on its representations supported fraud finding).



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  65.   Fraud by non-disclosure is a theory by which the misrepresentation

        element of fraud can be proven.

  66.   Fraud by non-disclosure is premised on the notion that silence may

        be as misleading as a positive misrepresentation of facts.

  67.   Fraud by non-disclosure is implicated by RPC’s prior course of

        dealings with Silver Fern and by the fact that Silver Fern had

        provided RPC critical information through the course of its dealings

        with RPC, such as the SDS which was relied on by RPC.

  68.   Silver Fern had a duty to disclosure information because making a

        partial disclosure or omitting the disclosure it was exiting the

        market created a false impression to RPC while at the same time

        Silver Fern was fabricating evidence that it had informed RPC of the

        standard. Exhibit 11.

          COUNT TWO: NEGLIGENT MISREPRESENTATION

  69. The elements of negligent misrepresentation are: (1) the

        representation in question was made by the defendant in the course

        of his business or in a transaction in which he had a pecuniary

        interest, (2) the defendant supplied false information for the

        guidance of others in their business, (3) the defendant did not

        exercise   reasonable   care    or   competence   in   obtaining   or


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        communicating the information, and (4) the plaintiff suffered

        pecuniary loss by justifiably relying on the representation. Fed.

        Land Bank Ass'n of Tyler v. Shane, 825 S.W.2d 439, 442 (Tex.

        1991); see also Roof Sys., Inc. v. Johns Manville Corp., 130 S.W.3d

        430, 439 (Tex. App.-Houston [14th Dist.] 2004, no pet.) ("The false

        information' contemplated in a negligent misrepresentation case is

        a misstatement of existing fact, not a promise of future conduct.").

              COUNT THREE: CONSTRUCTIVE FRAUD

  70.   Constructive fraud is “the breach of a legal or equitable duty that the

        law declares fraudulent because it violates a fiduciary relationship.

        Hubbard v. Shankle, 138 S.W.3d 474, 483 (Tex. App.—Fort Worth

        2004, pet. denied). "A fiduciary relationship may arise from formal

        and informal relationships and may be created by contract." Lundy

        v. Masson, 260 S.W.3d 482, 501 (Tex. App.—Houston [14th Dist.]

        2008, no pet.). An informal fiduciary relationship, however, "may

        arise where one person trusts in and relies upon another, whether

        the relationship is a moral, social, domestic, or purely personal

        one." Id. (quoting Jones, 196 S.W.3d at 449). In other words, a

        fiduciary relationship "exists where a special confidence is reposed

        in another who in equity and good conscience is bound to act in



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        good faith and with due regard to the interests of the one reposing

        confidence." Tex. Bank & Trust Co. v. Moore, 595 S.W.2d 502, 507

        (Tex. 1980) (quoting Lappas v. Barker, 375 S.W.2d 248, 251 (Ky.

        1964)).

                        REQUEST FOR RELIEF

  71.   The Daughtry Family owns real estate and operated lawful family

        businesses in Jefferson County, Texas for decades. The Daughtrys

        are Southeast Texas natives who have worshiped, worked, lived and

        raised their family in this community their entire lives.

  72.   In 1968, Sandra began working for the City of Nederland. She went

        on to work there for 32-years before retiring in 2000.

  73.   In 1986, Joe established Daughtry Signs. He started by fabricating

        portable signs to rent and sell to other local small businesses.

  74.   Daughtry Signs eventually expanded to a full-service sign business

        including sign painters, welders, fabricators and maintenance

        services. Customers included businesses such as Sonic, Burger King,

        Conn’s, Market Basket, 5 Point Credit Union, convenience stores

        and outdoor billboards for MDF Outdoor.




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  75.   Jake’s Fireworks was established in 1990. Named after their son

        Jake, who was just 4 years old at the time, the fireworks business

        progressed from a lease with two small outdoor stands to two larger

        and nicer stands.

  76.   Being in Southeast Texas, there were advantages to the customers’

        comfort if they could shop for fireworks inside out of the weather,

        so the Daughtrys eventually decided to build a small indoor stand.

  77.   In 2002, with some help, the Daughtrys were blessed to be able to

        purchase property and build the 10,000 square foot building that

        has since been known as Jake’s Fireworks, one of largest indoor

        retail firework buildings in the State of Texas.

  78.   Having built a customer base for over 30 years, the Jake’s Fireworks

        business provided the Daughtrys supplemental income which they

        eventually used as a means to help with college tuition payments

        while Jake attended Texas A & M University.

  79.   In 2009, Jake established Right Price Chemicals (RPC), an online

        retail business that sold industrial chemicals and laboratory

        supplies.




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  80.   Best Buy Industrial Supply, LLC was established by Jake Daughtry

        in 2015 and had built a customer base across the United States.

  81.   Jake’s RV Park is a 38-site development that was developed in 2010

        and consistently booked at greater than 80% occupancy.

  82.   Since 2010, the Daughtry family has sold Derksen portable

        buildings on commission.

  83.   Daughtry Investments, LLC owned and operated a pre-existing

        Washateria business.

  84.   Lab Chemical Supply, LLC also sold chemicals and laboratory

        supplies including items such as Isopropyl Alcohol which had

        become the largest volume product during the Covid-19 pandemic.

  85.   On January 18, 2022, the indictment against Sandra Daughtry was

        dismissed. However, the other Plaintiffs continue to litigate to prove

        their innocence.

  86.   Plaintiffs seek direct damages from fraud, actual damages,

        exemplary damages for fraud, prejudgment and postjudgment

        interest, reasonable attorneys’ fees, consequential damages, expert

        fees, court costs, damages that in reasonable probability will be

        sustained in the future.


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                       DEMAND FOR A JURY TRIAL

   87.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs

         demand a jury trial for all issues in this matter.

                                     PRAYER

      WHEREFORE, PREMISES CONSIDERED, Plaintiff, herein,

prays in the manner and particulars noted above, including and especially as

to the declaratory relief requested; actual damages, attorney's fees and costs

for the preparation and trial of this cause of action, and for its appeal if

required, together with pre-and post-judgment interest for same, and for

such other relief as this Court may deem just and proper, whether at law or

at equity or as to both.



                                            Respectfully Submitted,

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